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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 _______________________________
 MONICA CHRISTOPHER             )
                                 )                    Case Number
              Plaintiff          )
                                 )
              vs.                )                    CIVIL COMPLAINT
                                 )
 BONDED CREDIT BUREAU,          )
 INC. d/b/a DRS BONDED           )
                                 )                    JURY TRIAL DEMANDED
                                 )
              Defendant          )
 _______________________________)




                         COMPLAINT AND JURY DEMAND

        COMES NOW, Plaintiff, Monica Christopher, by and through her undersigned

 counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren & Vullings,

 LLP, complaining of Defendant, and respectfully avers as follows:



                         I. INTRODUCTORY STATEMENT

        1.      Plaintiff, Monica Christopher, is an adult natural person and brings this

 action for actual and statutory damages and other relief against Defendant for violations

 of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which

 prohibits debt collectors from engaging in abusive, deceptive and unfair practices.
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                                    II. JURISDICTION

         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

 § 1337.

         3.      Venue in this District is proper in that the Defendant transacts business in

 this District and maintains a registered office in the District.



                                        III. PARTIES

         4.      Plaintiff, Monica Christopher, is an adult natural person residing at 103

 High Point Drive, Mayflower, Arkansas 72106. At all times material and relevant hereto,

 Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

         5.      Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded (“Defendant”),

 at all times relevant hereto, is and was a corporation engaged in the business of collecting

 debt with a registered office at 820 Bear Tavern Road, Trenton, New Jersey and its

 principal place of business located at 7745 East Kemper Road, Cincinnati OH 45249.

           6.    Defendant is engaged in the collection of debts from consumers using the

 telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

 due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

 §1692a(6).

                             IV. FACTUAL ALLEGATIONS

         7.      On or about January 19, 2010, Plaintiff received a call from Defendant’s

 agent, “Michelle”, at her place of employment looking for payment on an outstanding

 debt said to be owed to CitiFinancial Retail Services for around $2,600.00.
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        8.      Plaintiff informed Defendant’s agent, “Michelle”, that she had retained the

 services of Persels & Associates to help her resolve her debt issues and that she would

 need to call and speak with them directly.

        9.      Defendant’s, agent, “Michelle”, scolded that Plaintiff telling her it was too

 late for that, she needed to make arrangements immediately to pay off this debt. Agent,

 “Michelle”, told the Plaintiff that no matter what, she was not going to get away with not

 paying off this debt.

        10.     Plaintiff was told by Defendant’s agent, “Michelle”, that she had not paid

 enough off on her account and that she had until Friday, January 22, 2010, to make a

 payment or Defendant would be contacting Ms. Christopher’s boss personally to begin

 the process of garnishing her wages.

        11.     Plaintiff again asked Defendant’s agent, “Michelle”, to contact her

 attorneys’ at the law firm of Persels & Associates, but the agent again refused stating that

 the Defendant would never work with a third party.

        12.     On or about this same date, January 19, 2010, Persels & Associates sent a

 letter of cease and desist to the Defendant informing them that they were representing the

 Plaintiff in matters of settling her unsecured debt and that any further contact in regards

 to this debt should go solely to their firm.

        13.     To date the Plaintiff has never received anything in writing from

 Defendant or their agents in regards to this matter.

        14.     As of the filing of this complaint, Plaintiff continues to get calls daily from

 Defendant’s agent, “Michelle”, at her place of employment looking for payment on this

 account.
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         15.     The Defendant acted in a false, deceptive, misleading and unfair manner

 by threatening to take action that it did not intend to take for the purpose of coercing

 Plaintiff to pay the debt.

         16.     The Defendant acted in a false, deceptive, misleading and unfair when

 they engaged in conduct the natural consequence of which is to harass, oppress or abuse

 such person in connection with the collection of a debt.

         17.     The Defendant knew or should have known that their actions violated the

 FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

 their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

 to adequately review those actions to insure compliance with the law.

         18.     At all times pertinent hereto, the conduct of Defendant was malicious,

 intentional, willful, reckless, negligent and in wanton disregard for federal and state law

 and the rights of the Plaintiff herein.

         19.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

 including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

 to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

 anguish and pecuniary loss and she will continue to suffer same for an indefinite time in

 the future, all to her great detriment and loss.



                                     COUNT I – FDCPA

         20.     The above paragraphs are hereby incorporated herein by reference.
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        21.     At all times relevant hereto, Defendant was attempting to collect an

 alleged debt which was incurred by Plaintiff for personal, family or household purposes

 and is a “debt” as defined by 15 U.S.C. § 1692a(5).

        22.     The foregoing acts and omissions constitute violations of the FDCPA,

 including but not limited to, violations of:

                 §§ 1692c(a)(1)         At any unusual time, unusual place, or

                                        unusual time or place known to be inconvenient to

                                        the consumer

                §§ 1692c(a)(2)          After it knows the consumer to be represented by an

                                        attorney unless attorney consents or is unresponsive

                §§ 1692c(a)(3)          At place of employment when knows that the

                                        employer prohibits such communication

                §§ 1692c(c)             After written communication that consumer refuses

                                        to pay debt, or that consumer wants collector to

                                        cease communication

                §§ 1692d                Any conduct the natural consequence of which is to

                                        harass, oppress, or abuse any person

                §§ 1692d(5)             Caused the phone to ring or engaged any person in

                                        telephone conversations repeatedly

                §§ 1692e                Any other false, deceptive, or misleading

                                        representation or means in connection with the debt

                                        collection
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               §§ 1692e(4)             Nonpayment of any debt will result in the arrest or

                                       imprisonment of any person or the seizure,

                                       garnishment or attachment

               §§ 1692e(5)             Threaten to take any action that cannot be legally

                                       taken or that is not intended to be taken

               §§ 1692e(10)            Any false representation or deceptive means to

                                       collect a debt or obtain information about a

                                       consumer

               §§ 1692f                Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt

               §§ 1692g                Failure to send a 30-day validation notice within

                                       five days of the initial communication

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded, for the following:

        a.     Declaratory judgment that Defendant’s conduct violated the FDCPA and

               declaratory and injunctive relief for the Defendant’s violations of the state

               Act;

        b.     Actual damages;

        c.     Statutory damages pursuant to 15 U.S.C. § 1692k;

        d.     Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

        e.     Such additional and further relief as may be appropriate or that the

               interests of justice require.
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                                  V. JURY DEMAND

       Plaintiff hereby demands a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              WARREN & VULLINGS, LLP

 Date: January 27, 2010           BY:            /s/ Bruce K. Warren_

                                              Bruce K. Warren, Esquire

                                                 /s/ Brent F. Vullings

                                              Brent F. Vullings, Esquire

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